              Case 2:08-cr-00562-WBS Document 423 Filed 11/12/15 Page 1 of 2



 1 Timothy E. Warriner
   Attorney at Law
 2 428 J St., Suite 350
   Sacramento, CA 95814
 3 (916) 443-7141

 4 Attorney for Defendant
   Jose Gonzalez Arias
 5

 6

 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 08-cr-00562 WBS
12                                Plaintiff,               STIPULATION AND [PROPOSED]
                                                           ORDER SETTING RE-SENTENCING
13   v.                                                    HEARING
14   JOSE GONZALEZ ARIAS,
                                  Defendant,
15

16
                                               STIPULATION
17
            Defendant Jose Gonzalez Arias through his counsel of record, and Plaintiff United States of
18

19 America, by and through its counsel of record, hereby stipulate as follows:
20          The court should vacate the status of sentencing hearing now set on November 30, 2015. A

21 re-sentencing hearing shall be scheduled for January 4, 2016 at 9:00 a.m., said matter to be added to

22
     the court’s calendar for that date. The continuance is requested to allow defense counsel additional
23
     time to review the draft PSR with Mr. Arias and to prepare for re-sentencing.
24

25
26

27

28
                                                       1
29

30
           Case 2:08-cr-00562-WBS Document 423 Filed 11/12/15 Page 2 of 2


     DATED:     November 10, 2015
 1

 2                                  /s/ Jill Thomas___________________
                                    Assistant United States Attorney
 3
     DATED:     November 10, 2015
 4

 5                                  /s/ Timothy E. Warriner
                                    Counsel for Defendant
 6                                  Jose Gonzalez Arias
 7

 8
                                           ORDER
 9

10        IT IS SO FOUND AND ORDERED.
11 Dated: November 10, 2015

12

13

14

15

16

17

18

19
20

21

22

23

24

25
26

27

28
                                               2
29

30
